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    IT IS ORDERED as set forth below:



    Date: December 20, 2019
                                                              _____________________________________
                                                                         Wendy L. Hagenau
                                                                    U.S. Bankruptcy Court Judge

_______________________________________________________________




                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


In re:                                               )           Chapter 11
                                                     )
EAT HERE BRANDS, LLC, et al.1,                       )           Lead Case No. 19-61688-WLH
                                                     )
                   Debtors.                          )           Jointly Administered
                                                     )

    ORDER REGARDING DEBTORS’ MOTION TO DISMISS BANKRUPTCY CASES
       FOR CAUSE PURSUANT TO 11 U.S.C. § 1112(B) AND, IN CONNECTION
    THEREWITH, FOR AUTHORIZATION TO MAKE CERTAIN DISBURSEMENTS
                 AND TO EXCUSE ESTATE PROFESSIONALS
          FROM THE REQUIREMENT OF FILING FEE APPLICATIONS

             This matter came on for hearing on December 17, 2019 at 1:30 p.m. (Eastern)

(the “Hearing”) on Debtors’ Motion to Dismiss Bankruptcy Cases for Cause Pursuant to



1
          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta
#2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1 LLC (9320); Babalu Memphis #2 LLC
(4558); Babalu, LLC (7673); and Babalu Birmingham #1 LLC (1892). The Debtors’ mailing address is 9755
Dogwood Road, Suite 200, Roswell, Georgia 30075.



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11 U.S.C. § 1112(b) and, in Connection Therewith, for Authorization to Make Certain

Disbursements and to Excuse Estate Professionals from the Requirement of Filing Fee

Applications [Docket No. 196] (the “Motion”)2 filed by Eat Here Brands, LLC, Babalu Atlanta

#1 LLC, Babalu Atlanta #1 LLC, Babalu Knoxville #1 LLC, Babalu Memphis #1 LLC, Babalu

Memphis #2 LLC, Babalu, LLC, and Babalu Birmingham #1 LLC (collectively, the “Debtors”).

             The Court has considered the Motion, the entire record in these Bankruptcy Cases, and

the arguments and presentations of counsel made at the Hearing. It appears that the Court has

jurisdiction over the Motion and this proceeding; that this is a core proceeding; that notice of the

Motion has been given to the parties on the Master Service List as approved by this Court’s

Order Establishing Notice and Administrative Procedures [Docket No. 33], all creditors

identified in the creditor matrix of each of the Debtors’ respective Bankruptcy Cases, and any

parties that the Debtors are aware of that may assert a lien in the assets of the Debtors; that no

further notice of the Motion is necessary; that the relief sought in the Motion is in the best

interests of the Debtors, their bankruptcy estates, and their creditors; that all objections to the

Motion have either been overruled by the Court or resolved by the terms of this Order; and that

good and sufficient cause exists to grant the relief requested in the Motion.

             Accordingly, it is hereby ORDERED, ADJUDGED, and DECREED that:

             1.            The Motion is GRANTED as set forth herein.

             2.            The Debtors are authorized and directed to disburse $260,250 to Origin Bank.

             3.            The Debtors are authorized and directed to disburse an amount sufficient to

pay any outstanding UST Fees for the fourth quarter of 2019 to the United States Trustee, which

amount is currently estimated to be approximately $42,000.



2
             Any capitalized terms not defined in this Order shall have the meaning given to them in the Motion.

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             4.     After disposition of the Final Fee Applications (defined below) for all Estate

Professionals (defined below), the Debtors shall file a request that an order dismissing these

Bankruptcy Cases be entered.

             5.     Upon filing such a request the Court may enter an order dismissing the

Bankruptcy Cases without further notice or hearing (the “Dismissal Order”).

             6.     The Debtors, the Committee, and their respective professionals (the “Estate

Professionals”) shall all file final fee applications (the “Final Fee Applications”) within a

reasonable time but in no event more than twenty (20) days after the entry of this Order.

             7.     Any objections to the Final Fee Applications shall be filed within seven (7)

days of the date that the Notice (as defined in paragraph 10 below) of the Final Fee Applications

is filed and served. If a creditor or party in interest files a timely objection to the Final Fee

Applications, the Court will hold a hearing on the Final Fee Applications in Courtroom 1403,

United States Courthouse, 75 Ted Turner Dr., SW, Atlanta, Georgia 30303, on January 23, 2020

at 1:30 p.m. (Eastern) (the “Fee Hearing”).

             8.     No hearing shall be necessary on the Final Fee Applications absent the filing

of a timely objection. If no objection to the Final Fee Applications is timely filed, the Court may

enter an order or orders approving the Final Fee Applications without further notice or

conducting the Fee Hearing, and such orders shall be final orders.

             9.     Counsel for the Debtors is directed to serve or cause a copy of this Order to

be served on all parties on the Master Service List as approved by this Court’s Order

Establishing Notice and Administrative Procedures [Docket No. 33], within three (3) days of the

entry of this Order and file a certificate of service with the Clerk of the Court.




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             10.    Counsel for the Debtors is also directed to serve or cause a copy of a Notice

of the Final Fee Applications and Notice of Hearing related to the Final Fee Applications

(the “Notice”) to be served on all parties on the Master Service List as approved by this Court’s

Order Establishing Notice and Administrative Procedures [Docket No. 33], and file a certificate

of service with the Clerk of the Court. The Notice shall be deemed to be sufficient if it is

substantially in the same form as the notice that was filed in Case No. 18-69404-wlh at

Docket No. 174.

             11.    The Debtors and the Estate Professionals shall not be required to serve a copy

of the Final Fee Applications on any creditor or party in interest, and the service of this Order

and the Notice in accordance with paragraphs 9 and 10 of this Order shall be deemed to be

sufficient service related to the Final Fee Applications and notice of the Fee Hearing, and no

further notice of the Final Fee Applications or the Fee Hearing shall be necessary.

Notwithstanding the foregoing, the Estate Professionals shall make a copy of the Final Fee

Applications available to any creditor or party in interest that requests a copy of any of the Final

Fee Applications in writing.

                                   *** END OF ORDER ***




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